Filed 03/11/19                                                             Case 19-21482                                                                    Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Rita
       your government-issued        First name                                                       First name
       picture identification (for
       example, your driver's        Sandra
       license or passport).         Middle name                                                      Middle name
       Bring your picture
       identification to your
                                     Price
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years FKA Rita Sandra Alston
                                     FKA Rita Sandra Williams
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-2746
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Rita Sandra Price                                                                          Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years
                                   FDBA DR7373
       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   8259 White Sands Way
                                   Sacramento, CA 95828
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Sacramento
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any               have lived in this district longer than in any other
                                          other district.                                                district.

                                          I have another reason.                                         I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Filed 03/11/19                                                           Case 19-21482                                                                            Doc 1
  Debtor 1    Rita Sandra Price                                                                             Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                   Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                           this bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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  Debtor 1    Rita Sandra Price                                                                              Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?
                                        Yes.     Name and location of business
       A sole proprietorship is a
       business you operate as                   Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
Filed 03/11/19                                                             Case 19-21482                                                                         Doc 1
  Debtor 1    Rita Sandra Price                                                                          Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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  Debtor 1    Rita Sandra Price                                                                             Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
      you estimate that you                                                            5001-10,000                                   50,001-100,000
      owe?                            50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      be worth?                       $50,001 - $100,000
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      to be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Rita Sandra Price
                                   Rita Sandra Price                                                 Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on     March 11, 2019                                    Executed on
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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  Debtor 1   Rita Sandra Price                                                                              Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Ronald R. Roundy                                               Date         March 11, 2019
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Ronald R. Roundy
                                  Printed name

                                  Law Offices of Ted A. Greene, Inc.
                                  Firm name

                                  1912 F Street, Ste. #110
                                  Sacramento, CA 95811
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     (916)442-6400                              Email address         rroundy@tedgreenelaw.com
                                  276879 CA
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Filed 03/11/19   Case 19-21482   Doc 1
Filed 03/11/19                                                                           Case 19-21482                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rita Sandra Price
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $              81,887.85

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                8,985.44

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              90,873.29

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             147,563.18

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              64,212.35


                                                                                                                                         Your total liabilities $               211,775.53


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                1,315.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,243.92

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                    the court with your other schedules.
     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 03/11/19                                                             Case 19-21482                                                                  Doc 1
     Debtor 1      Rita Sandra Price                                                          Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $             0.00


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
Filed 03/11/19                                                                               Case 19-21482                                                                                 Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                    Rita Sandra Price
                                 First Name                                 Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            8259 White Sands Way                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Sacramento                        CA        95828-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $248,145.00                  $81,887.85
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              Fee simple
            Sacramento                                                                     Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
Filed 03/11/19                                                                              Case 19-21482                                                                                      Doc 1
     Debtor 1         Rita Sandra Price                                                                                             Case number (if known)

            If you own or have more than one, list here:
     1.2                                                                         What is the property? Check all that apply
            122 A Plaza West                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                          Duplex or multi-unit building
                                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                                          Condominium or cooperative

                                                                                          Manufactured or mobile home
                                                                                                                                          Current value of the      Current value of the
            Texarkana                         TX        75501-0000                        Land                                            entire property?          portion you own?
            City                              State              ZIP Code                 Investment property                                        Unknown                    Unknown
                                                                                          Timeshare
                                                                                                                                          Describe the nature of your ownership interest
                                                                                          Other                                           (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one           a life estate), if known.
                                                                                                                                          .00517 Undivided Joint Interest In
                                                                                          Debtor 1 only                                   9.25 Acres
            Bowie                                                                         Debtor 2 only
            County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                               Check if this is community property
                                                                                          At least one of the debtors and another              (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:
                                                                                 Vacant land.


     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                            $81,887.85

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1     Make:         Volkswagon                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                           the amount of any secured claims on Schedule D:
              Model:        Passat                                             Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
              Year:         2004                                               Debtor 2 only                                               Current value of the     Current value of the
              Approximate mileage:                          133k               Debtor 1 and Debtor 2 only                                  entire property?         portion you own?
              Other information:                                               At least one of the debtors and another


                                                                               Check if this is community property                                   $1,714.00                  $1,714.00
                                                                               (see instructions)



      3.2     Make:         Ford                                            Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                           the amount of any secured claims on Schedule D:
              Model:        E-250                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
              Year:         1993                                               Debtor 2 only                                               Current value of the     Current value of the
              Approximate mileage:                               79k           Debtor 1 and Debtor 2 only                                  entire property?         portion you own?
              Other information:                                               At least one of the debtors and another


                                                                               Check if this is community property                                   $1,000.00                  $1,000.00
                                                                               (see instructions)




    Official Form 106A/B                                                             Schedule A/B: Property                                                                            page 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
Filed 03/11/19                                                                   Case 19-21482                                                                                Doc 1
     Debtor 1       Rita Sandra Price                                                                                   Case number (if known)

    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>            $2,714.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        Misc. Household Goods & Furnishings                                                                                      $1,335.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        Misc. Electronics                                                                                                          $720.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
            Yes. Describe.....

                                        Bicycle                                                                                                                      $35.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                        Wearing Apparel                                                                                                            $250.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
           Yes. Describe.....
    Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 03/11/19                                                                                         Case 19-21482                                                                 Doc 1
     Debtor 1         Rita Sandra Price                                                                                           Case number (if known)


                                                Misc. Jewelry                                                                                                             $100.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
            No
            Yes. Describe.....

    14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                          $2,440.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
         No
            Yes................................................................................................................

                                                                                                                                     Cash on Hand                           $90.00


    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:

                                                              Personal Checking
                                                  17.1.       & Savings                               Chase Bank                                                          $677.03

                                                                                                      Golden One Credit Union. Joint account with
                                                              Personal Checking                       daughter. Debtor's interest in the account is
                                                  17.2.       & Savings                               $1.00.                                                              $413.21



                                                  17.3.       Business Checking Chase Bank                                                                                  $19.00


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes..................                           Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them

    Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 4
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     Debtor 1         Rita Sandra Price                                                                           Case number (if known)

                                                Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
            No
            Yes. List each account separately.
                                    Type of account:                            Institution name:

    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                          Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

    28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                               value:
    Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 03/11/19                                                                            Case 19-21482                                                                              Doc 1
     Debtor 1        Rita Sandra Price                                                                                               Case number (if known)


                                                 Boston Mutual Whole Life Policy                                          Sonia Lewis; Kenya
                                                                                                                          Williams                                      $2,632.20


    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................   $3,831.44


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.



     Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                            $0.00




    Official Form 106A/B                                                           Schedule A/B: Property                                                                     page 6
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Filed 03/11/19                                                                                Case 19-21482                                                                                Doc 1
     Debtor 1         Rita Sandra Price                                                                                                     Case number (if known)

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................          $81,887.85
     56. Part 2: Total vehicles, line 5                                                                             $2,714.00
     57. Part 3: Total personal and household items, line 15                                                        $2,440.00
     58. Part 4: Total financial assets, line 36                                                                    $3,831.44
     59. Part 5: Total business-related property, line 45                                                               $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
     61. Part 7: Total other property not listed, line 54                                             +                 $0.00

     62. Total personal property. Add lines 56 through 61...                                                        $8,985.44             Copy personal property total        $8,985.44

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $90,873.29




    Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 7
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
Filed 03/11/19                                                                  Case 19-21482                                                                              Doc 1
     Fill in this information to identify your case:

     Debtor 1                 Rita Sandra Price
                              First Name                        Middle Name                 Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          8259 White Sands Way Sacramento,                               $81,887.85                                $33,192.00      C.C.P. § 704.730
          CA 95828 Sacramento County
          Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          2004 Volkswagon Passat 133k miles                               $1,714.00                                  $1,714.00     C.C.P. § 704.010
          Line from Schedule A/B: 3.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          1993 Ford E-250 79k miles                                       $1,000.00                                  $1,000.00     C.C.P. § 704.010
          Line from Schedule A/B: 3.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          Misc. Household Goods &                                         $1,335.00                                  $1,335.00     C.C.P. § 704.020
          Furnishings
          Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          Misc. Electronics                                                   $720.00                                  $720.00     C.C.P. § 704.020
          Line from Schedule A/B: 7.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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Filed 03/11/19                                                                  Case 19-21482                                                                                Doc 1
     Debtor 1    Rita Sandra Price                                                                           Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Bicycle                                                              $35.00                                    $35.00        C.C.P. § 704.020
         Line from Schedule A/B: 9.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Wearing Apparel                                                     $250.00                                   $250.00        C.C.P. § 704.020
         Line from Schedule A/B: 11.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Misc. Jewelry                                                       $100.00                                   $100.00        C.C.P. § 704.040
         Line from Schedule A/B: 12.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Cash on Hand                                                         $90.00                                    $90.00        C.C.P. § 704.070
         Line from Schedule A/B: 16.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Personal Checking & Savings: Chase                                  $677.03                                   $300.00        C.C.P. § 704.070
         Bank
         Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Personal Checking & Savings:                                        $413.21                                 $1,906.00        C.C.P. § 704.070
         Golden One Credit Union. Joint
         account with daughter. Debtor's                                                       100% of fair market value, up to
         interest in the account is $1.00.                                                     any applicable statutory limit
         Line from Schedule A/B: 17.2

         Business Checking: Chase Bank                                        $19.00                                    $19.00        C.C.P. § 704.070
         Line from Schedule A/B: 17.3
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Boston Mutual Whole Life Policy                                  $2,632.20                                  $2,632.20        C.C.P. § 704.100
         Beneficiary: Sonia Lewis; Kenya
         Williams                                                                              100% of fair market value, up to
         Line from Schedule A/B: 31.1                                                          any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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Filed 03/11/19                                                                    Case 19-21482                                                                                     Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rita Sandra Price
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
     2.1     JP Morgan Chase                          Describe the property that secures the claim:               $147,563.18               $248,145.00                     $0.00
             Creditor's Name                          8259 White Sands Way Sacramento,
             ATTN: Bankruptcy                         CA 95828 Sacramento County
             Manager
                                                      As of the date you file, the claim is: Check all that
             P.O. Box 78420                           apply.
             Phoenix, AZ 85062                            Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)

           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred          2011                      Last 4 digits of account number        7836


       Add the dollar value of your entries in Column A on this page. Write that number here:                               $147,563.18
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                              $147,563.18

     Part 2:       List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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Filed 03/11/19                                                                     Case 19-21482                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Rita Sandra Price
                                First Name                      Middle Name                       Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                       Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                               Check if this is an
                                                                                                                                                              amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?

               No. Go to Part 2.
               Yes.
     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

               Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1          American Express                                        Last 4 digits of account number         1000                                                      $11,317.65
                  Nonpriority Creditor's Name
                  ATTN: Bankruptcy Manager                                When was the debt incurred?             06/2018
                  P.O. BOX 0001
                  Los Angeles, CA 90096-8000
                  Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.

                      Debtor 1 only                                           Contingent
                      Debtor 2 only                                           Unliquidated
                      Debtor 1 and Debtor 2 only                              Disputed
                      At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                      Check if this claim is for a community                  Student loans
                  debt                                                       Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                         report as priority claims

                      No                                                      Debts to pension or profit-sharing plans, and other similar debts

                      Yes                                                     Other. Specify   Credit Card Purchases




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 5
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Filed 03/11/19                                                                    Case 19-21482                                                                               Doc 1
     Debtor 1 Rita Sandra Price                                                                              Case number (if known)

     4.2      American Express - Hilton                                  Last 4 digits of account number       1006                                               $959.59
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           06/2015
              P.O. Box 0001
              Los Angeles, CA 90051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases


     4.3      Bank of America                                            Last 4 digits of account number       0716                                             $7,711.06
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           06/2018
              P.O. Box 15019
              Wilmington, DE 19886
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases


     4.4      Barclay's                                                  Last 4 digits of account number       1701                                             $6,427.72
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           06/2018
              P.O. Box 60517
              City of Industry, CA 91716
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 5
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Filed 03/11/19                                                                    Case 19-21482                                                                               Doc 1
     Debtor 1 Rita Sandra Price                                                                              Case number (if known)

     4.5      Capital One                                                Last 4 digits of account number       7154                                           $12,059.55
              Nonpriority Creditor's Name
              ATTN: Bankruptcy/Manager                                   When was the debt incurred?           07/2018
              P.O. Box 71087
              Charlotte, NC 28272
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases


     4.6      Citicard                                                   Last 4 digits of account number       1608                                             $6,164.40
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           06/2018
              P.O. Box 78045
              Phoenix, AZ 85062
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases


     4.7      Compass Bank BBVA                                          Last 4 digits of account number       6875                                           $13,165.00
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           06/2018
              P.O. Box 830139
              Birmingham, AL 35283
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 5
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Filed 03/11/19                                                                    Case 19-21482                                                                               Doc 1
     Debtor 1 Rita Sandra Price                                                                              Case number (if known)

     4.8      Discover                                                   Last 4 digits of account number       6118                                             $1,710.15
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           06/2018
              PO Box 51908
              Los Angeles, CA 90051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases


     4.9      Discover                                                   Last 4 digits of account number       5292                                             $2,148.63
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           Unknown
              P.O. Box 51908
              Los Angeles, CA 90051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases


     4.1
     0        Sears                                                      Last 4 digits of account number       9577                                             $2,528.60
              Nonpriority Creditor's Name
              ATTN: Bankruptcy Manager                                   When was the debt incurred?           11/2012
              P.O. Box 6276
              Sioux Falls, SD 57117-6276
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card Purchases




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
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Filed 03/11/19                                                                    Case 19-21482                                                                                Doc 1
     Debtor 1 Rita Sandra Price                                                                              Case number (if known)

     4.1
     1         Western Dental                                            Last 4 digits of account number       3126                                                  $20.00
               Nonpriority Creditor's Name
               ATTN: Bankruptcy Manager                                  When was the debt incurred?           11/2017
               P.O. Box 51901
               Los Angeles, CA 90051
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                  Debtor 1 only                                              Contingent
                  Debtor 2 only                                              Unliquidated
                  Debtor 1 and Debtor 2 only                                 Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                    Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                         Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                        Other. Specify   Dental Fee

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                    Total Claim
                            6a.   Domestic support obligations                                                  6a.       $                           0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                    Total Claim
                            6f.   Student loans                                                                 6f.       $                           0.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                         6g.       $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                  here.                                                                                   $                      64,212.35

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                      64,212.35




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 5
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Filed 03/11/19                                                                       Case 19-21482                                                                      Doc 1
     Fill in this information to identify your case:

     Debtor 1                  Rita Sandra Price
                               First Name                         Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)       First Name                         Middle Name              Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
                  No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


             Person or company with whom you have the contract or lease                      State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.2
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.3
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.4
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.5
               Name


               Number        Street

               City                                     State                   ZIP Code




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 03/11/19                                                                         Case 19-21482                                                                    Doc 1
     Fill in this information to identify your case:

     Debtor 1                     Rita Sandra Price
                                  First Name                            Middle Name           Last Name

     Debtor 2
     (Spouse if, filing)          First Name                            Middle Name           Last Name


     United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              -NONE-          . Fill in the name and current address of that person.


                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:

        3.1                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number               Street
                    City                                        State                          ZIP Code




        3.2                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number               Street
                    City                                        State                          ZIP Code




    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 1
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Filed 03/11/19                                                         Case 19-21482                                                                          Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Rita Sandra Price

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                              Check if this is:
     (If known)
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter
                                                                                                                 13 income as of the following date:

     Official Form 106I                                                                                          MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                   Employed
            attach a separate page with           Employment status
                                                                           Not employed                               Not employed
            information about additional
            employers.
                                                  Occupation
            Include part-time, seasonal, or
            self-employed work.                   Employer's name

            Occupation may include student        Employer's address
            or homemaker, if it applies.


                                                  How long employed there?

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1      For Debtor 2 or
                                                                                                                              non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $             0.00    $              N/A

     3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$             N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $          0.00           $       N/A




    Official Form 106I                                                       Schedule I: Your Income                                                 page 1
Filed 03/11/19                                                       Case 19-21482                                                                                Doc 1


     Debtor 1   Rita Sandra Price                                                                     Case number (if known)



                                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                                  non-filing spouse
          Copy line 4 here                                                                     4.         $              0.00     $             N/A

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
          5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
          5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
          5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
          5e.    Insurance                                                                     5e.        $              0.00     $               N/A
          5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
          5g.    Union dues                                                                    5g.        $              0.00     $               N/A
          5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00     $               N/A
          8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $          0.00         $               N/A
          8d. Unemployment compensation                                                        8d.        $          0.00         $               N/A
          8e. Social Security                                                                  8e.        $      1,315.00         $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                    0.00   $                 N/A
          8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
          8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,315.00         $               N/A

     10. Calculate monthly income. Add line 7 + line 9.                                     10. $             1,315.00 + $             N/A = $          1,315.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                  0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                        12.   $         1,315.00
                                                                                                                                              Combined
                                                                                                                                              monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain:




    Official Form 106I                                                      Schedule I: Your Income                                                      page 2
Filed 03/11/19                                                               Case 19-21482                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1                 Rita Sandra Price                                                                 Check if this is:
                                                                                                                     An amended filing
      Debtor 2                                                                                                       A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                      No
            dependents names.                                                                                                                     Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                            1,121.43

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                                0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Filed 03/11/19                                                             Case 19-21482                                                                                     Doc 1


      Debtor 1     Rita Sandra Price                                                                         Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                                     6a.   $                               170.00
            6b. Water, sewer, garbage collection                                                                   6b.   $                               120.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                               137.00
            6d. Other. Specify:                                                                                    6d.   $                                 0.00
      7.    Food and housekeeping supplies                                                                          7.   $                               200.00
      8.    Childcare and children’s education costs                                                                8.   $                                 0.00
      9.    Clothing, laundry, and dry cleaning                                                                     9.   $                                 0.00
      10.   Personal care products and services                                                                    10.   $                                 0.00
      11.   Medical and dental expenses                                                                            11.   $                                25.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                                           12. $                                 150.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                   0.00
      14.   Charitable contributions and religious donations                                                       14. $                                  50.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                                  15a.    $                                28.36
            15b. Health insurance                                                                                15b.    $                                25.00
            15c. Vehicle insurance                                                                               15c.    $                               110.23
            15d. Other insurance. Specify: Home Warranty                                                         15d.    $                                57.00
                   Legal Shield                                                                                          $                                24.95
      16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
          Specify:                                                                               16. $                                                      0.00
      17. Installment or lease payments:
          17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
          17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
          17c. Other. Specify:                                                                 17c. $                                                       0.00
          17d. Other. Specify:                                                                 17d. $                                                       0.00
      18. Your payments of alimony, maintenance, and support that you did not report as
          deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                      0.00
      19. Other payments you make to support others who do not live with you.                         $                                                     0.00
          Specify:                                                                               19.
      20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
          20a. Mortgages on other property                                                     20a. $                                                      0.00
          20b. Real estate taxes                                                               20b. $                                                      0.00
          20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
          20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
          20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
      21. Other: Specify:    Legal Shield                                                        21. +$                                                   24.95
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                       $                     2,243.92
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     2,243.92
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               1,315.00
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,243.92

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                -928.92

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 03/11/19                                                                Case 19-21482                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                    Rita Sandra Price
                                 First Name                     Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Rita Sandra Price                                                     X
                  Rita Sandra Price                                                         Signature of Debtor 2
                  Signature of Debtor 1

                  Date       March 11, 2019                                                 Date




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 03/11/19                                                                  Case 19-21482                                                                             Doc 1



     Fill in this information to identify your case:

     Debtor 1                  Rita Sandra Price
                               First Name                       Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                Check if this is an
                                                                                                                                               amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                            Dates Debtor 2
                                                                    lived there                                                                    lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income           Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                        exclusions)                                                and exclusions)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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     Debtor 1      Rita Sandra Price                                                                           Case number (if known)



    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income            Gross income
                                                       Describe below.                  each source                    Describe below.              (before deductions
                                                                                        (before deductions and                                      and exclusions)
                                                                                        exclusions)
     From January 1 of current year until Social Security                                             $1,315.00
     the date you filed for bankruptcy:   Benefits

     For last calendar year:                           Social Security                              $15,780.00
     (January 1 to December 31, 2018 )                 Benefits

     For the calendar year before that:                Social Security                              $15,480.00
     (January 1 to December 31, 2017 )                 Benefits


     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                              No.      Go to line 7.
                              Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                              No.      Go to line 7.
                              Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe

    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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     Debtor 1      Rita Sandra Price                                                                           Case number (if known)



    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe       Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                               Nature of the case          Court or agency                          Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                                 property
                                                                    Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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     Debtor 1      Rita Sandra Price                                                                           Case number (if known)



          or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
           how the loss occurred                                                                                                  loss                            lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Law Offices of Ted A. Greene, Inc.                            Cash                                                     10/22/2018 &              $1,125.00
           1912 F Street Suite 110                                                                                                11/30/2018
           Sacramento, CA 95811


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
             No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
           Address                                                       property transferred                       payments received or debts      made
                                                                                                                    paid in exchange
           Person's relationship to you
           Kenya Williams                                                1998 Lexus ES 300 (totalled)               N/A                             2/28/2019
           8259 White Sands Way
           Sacramento, CA 95828

           Daughter


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                    made




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     Debtor 1      Rita Sandra Price                                                                                Case number (if known)



     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                        Last 4 digits of              Type of account or           Date account was        Last balance
           Address (Number, Street, City, State and ZIP             account number                instrument                   closed, sold,       before closing or
           Code)                                                                                                               moved, or                    transfer
                                                                                                                               transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?                 Describe the contents          Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                         State and ZIP Code)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                       Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

     Part 10:      Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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     Debtor 1      Rita Sandra Price                                                                                Case number (if known)



    25. Have you notified any governmental unit of any release of hazardous material?

                 No
                 Yes. Fill in the details.
            Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
            Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                 No
                 Yes. Fill in the details.
            Case Title                                                   Court or agency                            Nature of the case                   Status of the
            Case Number                                                  Name                                                                            case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                     A member of a limited liability company (LLC) or limited liability partnership (LLP)

                     A partner in a partnership

                     An officer, director, or managing executive of a corporation

                     An owner of at least 5% of the voting or equity securities of a corporation

                 No. None of the above applies. Go to Part 12.
                 Yes. Check all that apply above and fill in the details below for each business.
            Business Name                                           Describe the nature of the business                  Employer Identification number
            Address                                                                                                      Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                         Dates business existed

    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                 No
                 Yes. Fill in the details below.
            Name                                                    Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Rita Sandra Price
     Rita Sandra Price                                                       Signature of Debtor 2
     Signature of Debtor 1

     Date      March 11, 2019                                                Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
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     Debtor 1      Rita Sandra Price                                                                           Case number (if known)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 7
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Filed 03/11/19                                                                Case 19-21482                                                                      Doc 1


     Fill in this information to identify your case:

     Debtor 1                 Rita Sandra Price
                              First Name                        Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                       Check if this is an
                                                                                                                                      amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         JP Morgan Chase                                      Surrender the property.                              No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                 Yes
        Description of 8259 White Sands Way                                     Reaffirmation Agreement.
        property       Sacramento, CA 95828                                     Retain the property and [explain]:
        securing debt: Sacramento County                                      Make payments as agreed

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                       Will the lease be assumed?

     Lessor's name:                                                                                                            No
     Description of leased
     Property:                                                                                                                 Yes

     Lessor's name:                                                                                                            No
     Description of leased
     Property:                                                                                                                 Yes

     Lessor's name:                                                                                                            No

    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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     Debtor 1      Rita Sandra Price                                                                     Case number (if known)


     Description of leased
     Property:                                                                                                                    Yes

     Lessor's name:                                                                                                               No
     Description of leased
     Property:                                                                                                                    Yes

     Lessor's name:                                                                                                               No
     Description of leased
     Property:                                                                                                                    Yes

     Lessor's name:                                                                                                               No
     Description of leased
     Property:                                                                                                                    Yes

     Lessor's name:                                                                                                               No
     Description of leased
     Property:                                                                                                                    Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Rita Sandra Price                                                        X
           Rita Sandra Price                                                                Signature of Debtor 2
           Signature of Debtor 1

           Date        March 11, 2019                                                   Date




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 2

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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Rita Sandra Price
     Debtor 2                                                                                                  1. There is no presumption of abuse
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California                         2. The calculation to determine if a presumption of abuse
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)
                                                                                                               3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                               0.00      $
      3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
         Column B is filled in.                                                             $                               0.00      $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                               0.00      $
      5. Net income from operating a business, profession, or farm
                                                                            Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                    0.00      $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from rental or other real property            $       0.00 Copy here -> $                    0.00      $
                                                                                                           $                0.00      $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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     Debtor 1     Rita Sandra Price                                                                       Case number (if known)



                                                                                                      Column A                     Column B
                                                                                                      Debtor 1                     Debtor 2 or
                                                                                                                                   non-filing spouse
      8. Unemployment compensation                                                                    $                  0.00      $
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                    0.00
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                      $                  0.00      $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                    $                  0.00      $
                                                                                                      $                  0.00      $
                      Total amounts from separate pages, if any.                                  +   $                  0.00      $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.             $             0.00       +   $                   =   $            0.00

                                                                                                                                                   Total current monthly
                                                                                                                                                   income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $                0.00

                  Multiply by 12 (the number of months in a year)                                                                                      x 12
           12b. The result is your annual income for this part of the form                                                               12b. $                 0.00

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                 CA

           Fill in the number of people in your household.                        1
           Fill in the median family income for your state and size of household.                                                        13.   $         56,580.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Rita Sandra Price
                    Rita Sandra Price
                    Signature of Debtor 1
            Date March 11, 2019
                 MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                 page 2
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     Debtor 1    Rita Sandra Price                                                                    Case number (if known)




                                                       Current Monthly Income Details for the Debtor

    Debtor Income Details:
    Income for the Period 09/01/2018 to 02/28/2019.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                       page 3
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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:         Liquidation
     This notice is for you if:
                                                                                                      $245      filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $75   administrative fee

            Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $335      total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their nonexempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                       for family farmers or                                                  certain kinds of improper conduct described in the
                       fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                       for individuals with regular                                           You should know that even if you file chapter 7 and
                       income                                                                 you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                          $1,167    filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
     Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,717    total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                       $200       filing fee                                                  years or 5 years, depending on your income and other
     +                  $75       administrative fee                                          factors.
                       $275       total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235       filing fee                                                         debts for fraud or defalcation while acting in a
     +                  $75       administrative fee                                                 fiduciary capacity,
                       $310       total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
     s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
                                                                                              days before you file your bankruptcy petition. This
     Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                              Internet.
            If you knowingly and fraudulently conceal assets
            or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
            of perjury—either orally or in writing—in                                         must complete a financial management instructional
            connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
            fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                              course.
            All information you supply in connection with a
            bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
            Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
            U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
            other offices and employees of the U.S.                                           .
            Department of Justice.
                                                                                              In Alabama and North Carolina, go to:
     Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                              BankruptcyResources/ApprovedCredit
     The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




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    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re       Rita Sandra Price                                                                                Case No.
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                     1,125.00
                 Prior to the filing of this statement I have received                                        $                     1,125.00
                 Balance Due                                                                                  $                        0.00

    2.     $    335.00        of the filing fee has been paid.

    3.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    4.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]
                     Exemption planning.

    7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation of the debtors in any dischargeability actions, adversary proceedings, or removal of a pending
                   action in another court.
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         March 11, 2019                                                               /s/ Ronald R. Roundy
         Date                                                                         Ronald R. Roundy
                                                                                      Signature of Attorney
                                                                                      Law Offices of Ted A. Greene, Inc.
                                                                                      1912 F Street, Ste. #110
                                                                                      Sacramento, CA 95811
                                                                                      (916)442-6400 Fax: (916)266-9285
                                                                                      rroundy@tedgreenelaw.com
                                                                                      Name of law firm




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                 Price, Rita - - Pg. 1 of 2


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                                American Express
                                ATTN: Bankruptcy Manager
                                P.O. BOX 0001
                                Los Angeles, CA 90096-8000


                                American Express - Hilton
                                ATTN: Bankruptcy Manager
                                P.O. Box 0001
                                Los Angeles, CA 90051


                                Bank of America
                                ATTN: Bankruptcy Manager
                                P.O. Box 15019
                                Wilmington, DE 19886


                                Barclay's
                                ATTN: Bankruptcy Manager
                                P.O. Box 60517
                                City of Industry, CA 91716


                                Capital One
                                ATTN: Bankruptcy/Manager
                                P.O. Box 71087
                                Charlotte, NC 28272


                                Citicard
                                ATTN: Bankruptcy Manager
                                P.O. Box 78045
                                Phoenix, AZ 85062


                                Compass Bank BBVA
                                ATTN: Bankruptcy Manager
                                P.O. Box 830139
                                Birmingham, AL 35283


                                Discover
                                ATTN: Bankruptcy Manager
                                PO Box 51908
                                Los Angeles, CA 90051


                                Discover
                                ATTN: Bankruptcy Manager
                                P.O. Box 51908
                                Los Angeles, CA 90051
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                                JP Morgan Chase
                                ATTN: Bankruptcy Manager
                                P.O. Box 78420
                                Phoenix, AZ 85062


                                Sears
                                ATTN: Bankruptcy Manager
                                P.O. Box 6276
                                Sioux Falls, SD 57117-6276


                                Western Dental
                                ATTN: Bankruptcy Manager
                                P.O. Box 51901
                                Los Angeles, CA 90051
